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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO


RIO REAL ESTATE INVESTMENT
OPPORTUNITIES, LLC, a New Mexico
limited liability company,

       Plaintiff,

vs.                                                 Case Number: 1:12-cv-00758-JAP-ACT

TESLA MOTORS, INC., a Delaware
corporation,

       Defendant.


                                CERTIFICATE OF SERVICE

       Pursuant to D.N.M.LR-Civ. 26.2, the undersigned certifies that on the 8th day of

February, 2013, Defendant Tesla Motors, Inc. mailed the original of the following documents:

       1.      Defendant’s Answers to Plaintiff’s First Set of Interrogatories to Defendant;

       2.      Defendant’s Responses to Plaintiff’s First Set of Requests for Production of
               Documents to Defendant; and

       3.      Defendant’s Responses to Plaintiff’s First Set of Request for Admission to
               Defendant;

to the following counsel of record:

                      Christopher M. Pacheco
                      LeeAnn Werbelow
                      Lastrapes, Spangler & Pacheco, P.A.
                      P.O. Box 15698
                      Rio Rancho, NM 87174
       Case 1:12-cv-00758-JAP-ACT Document 26 Filed 02/08/13 Page 2 of 2



                                       RODEY, DICKASON, SLOAN, AKIN & ROBB, P.A.

                                       By:   “Electronically Filed” /s/ Andrew G. Schultz   .
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                                               Nicholas Sydow
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                                       Attorneys for Defendant Tesla Motors, Inc.




                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on February 8 , 2013, the foregoing Certificate of

Service was electronically filed with the Clerk of Court using the CM/ECF system that will send

notification of such filing to all counsel of record:

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By     /s/ Andrew G Schultz                             .
       Andrew G. Schultz




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